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FILED

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CLERK US DISTRICT COURT
SOUTHEAN DISTRICT OF CALIFORNIA

IN THE UNITED STATES DISTRICT COURIE ays a

 

 

FOR THE SOUTHERN DISTRICT OF CALIFORNIA

COLUMBIA SPORTSWEAR NORTH
AMERICA, INC.,

Plaintiff, No. 3:17-cv-01781-HZ
v. : VERDICT FORM

SEIRUS INNOVATIVE ACCESSORIES,
INC.,

Defendant.

 

We, the jury, being first duly empaneled and sworn in the above-entitled cause, do
unanimously find as follows:

1. Has Columbia proved by a preponderance of the evidence that Seirus infringed U.S:
Patent D657,093 (“Design Patent”)?

Yes x No

The Presiding Juror should sign and date this Verdict Form.

DATED this { ) day of August, 2021

 

1 — VERDICT FORM

 

 
